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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

Berniece Bursh,                        §
                                       §
    Plaintiff,                         §         NO: SA:18-CV-00608-DAE
                                       §
vs.                                    §
                                       §
Security Service Federal Credit Union, §
                                       §
    Defendants.                        §

                     ORDER FOR SETTLEMENT PAPERS

      On July 23, 2018, counsel advised the Court that this case settled. The
parties have not filed the closing paperwork in this case. Accordingly, it is hereby
ORDERED that:
      1) The parties shall submit a stipulation of dismissal or agreed judgment
      and any appropriate supporting documents on or before Friday, September
      21, 2018. If the parties are unable to submit those documents by that date,
      parties should move for an extension of time to file the documents.

      2) All pretrial deadlines in this case are hereby STAYED pending the
      submission of the parties' stipulation of dismissal or agreed judgment, and
      any appropriate supporting documents. These deadlines will be reinstated
      if the parties are unable to finalize their settlement of this case.

      3)      Any motions pending in this action are DENIED WITHOUT
      PREJUDICE, subject to reurging should settlement fail.
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     5) Any court settings in this case are cancelled.

     No extensions of the above deadline shall be granted except upon a
showing of good cause.

      IT IS SO ORDERED.

      DATED: San Antonio, Texas, July 24, 2018.



                                           ______________________________
                                          DAVID A. EZRA
                                          SENIOR U.S. DISTRICT JUDGE
